 1
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 7
 8                       IN THE UNITED STATES BANKRUPTCY COURT

 9                               FOR THE DISTRICT OF ARIZONA

10    In re:                                              Chapter 11 Proceedings
11    PARAMOUNT BUILDING SOLUTIONS, LLC                   Case No. 2:17-bk-10867-EPB
12    CLEANING SOLUTIONS, LLC                             Case No. 2:17-bk-10868-DPC
13    JMS BUILDING SOLUTIONS, LLC                         Case No. 2:17-bk-10869-BKM
14    STARLIGHT BUILDING SOLUTIONS, LLC,                  Case No. 2:17-bk-10870-EPB
                                                          (Jointly Administered)
15                                     Debtors.
16    PARAMOUNT BUILDING SOLUTIONS, LLC; Adv. No. 2:17-ap-0763-EPB
17    CLEANING SOLUTIONS, LLC;
      JMS BUILDING SOLUTIONS, LLC; and   MOTION FOR ORDER TO SHOW
      STARLIGHT BUILDING SOLUTIONS, LLC, CAUSE RE: CONTEMPT
18
19                                     Plaintiffs,

20    v.

21    US METRO GROUP, INC.,

22                                     Defendant.

23
24             Plaintiffs, PARAMOUNT BUILDING SOLUTIONS, LLC; CLEANING SOLUTIONS,
25   LLC; JMS BUILDING SOLUTIONS, LLC; and STARLIGHT BUILDING SOLUTIONS, LLC
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     (“Plaintiffs”), by and through their counsel undersigned, hereby request this Court enter an Order
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     directing Defendant to show cause, if it has any, why it should not be held in contempt of this
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Case 2:17-ap-00763-EPB      Doc 3 Filed 11/27/17 Entered 11/27/17 13:44:54               Desc
                            Main Document     Page 1 of 2
 1   Court’s Interim Order entered on September 21, 2017 at DE #30. On November 27, 2017, the
 2   Plaintiffs filed a Complaint against Defendant. A copy of the Complaint is attached hereto and
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     incorporated herein by this reference as Exhibit A. The Complaint alleges, inter alia, Defendant
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     is currently in violation of what has been identified as the “Interim DIP Order.” Specifically,
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     paragraph 15 of the Interim DIP Order prevents Defendant from, inter alia, attempting to effect a
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 7   setoff of any monies it owes Plaintiffs.

 8          Contrary to the terms of the Interim DIP Order, Defendant has in fact attempted to set-off
 9   the sum of $235,467.66 against monies it otherwise owes to Plaintiffs.
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            Demand has been repeatedly made on Defendant to turn over these monies, and
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     Defendant continues to refuse to do so.
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            Accordingly, Plaintiffs request this Court enter an order requiring the Defendant to show
13
14   cause, if it has any, why it should not be held in contempt of the Interim DIP Order.

15          DATED this 27th day of November, 2017.

16
                                           MICHAEL W. CARMEL, LTD.
17
                                         /s/Carmel, M.W. (007356)
18                                          Michael W. Carmel
                                            80 East Columbus Avenue
19                                          Phoenix, Arizona 85012-2334
                                            Attorney for Plaintiffs
20
     COPY of the foregoing mailed
21   this 27th day of November, 2017 to:
22   Kenneth Neeley, Esq.
     Neeley Law Firm, PLC
23   2250 E Germann Rd #11
     Chandler, AZ 85286
24   Attorney for Defendant
25   By Sharon D. Kirby
26
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                                                      2
Case 2:17-ap-00763-EPB       Doc 3 Filed 11/27/17 Entered 11/27/17 13:44:54                  Desc
                             Main Document     Page 2 of 2
